7/22/2019                     Case 20-00301 Document
                                                Payne &1-9   Filed
                                                       Associates,   in Mail
                                                                   PLLC TXSB       on 01/13/20
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                                                                                        ROBERT DAVIS



                                                                                                                                                       Kyle Payne <kyle@payne.associates>



 16-36562 ROBERT DAVIS
 2 messages

 Kyle Payne <kyle@payne.associates>                                                                                                                                   Tue, May 28, 2019 at 8:07 AM
 To: gwildslaw@gmail.com

   Ms. Wilds,

   You represented Mr. Davis in his prior bankruptcy case, no. 16-36562. I am currently representing him in a case, no. 17-35044. At a prior
   hearing, Mr. Davis brought it to the Judge's attention that he believes he is entitled to a refund of money for overpayment to you and Credit by
   Grace, a loan modification assistance company he said you work with. He asked me to look into this early in the case, and I did not, so the
   Judge has set a status conference to determine what I have done or was supposed to do with regards to this. As a result, I've looked through
   the receipts provided to me by Mr. Davis and it appears that he did, in fact, pay more than the retainer and contracts required.

   Attached are the receipts I was provided. I've also attached a spreadsheet that accounts for each payment along with its description on the
   receipt. Mr. Davis paid a total of $4,315.00 to you for attorney fees or filing fees outside of the bankruptcy plan payments. According to the fixed
   fee and attorney fee disclosure in case no. 16-36562 he paid $950.00 of the attorneys' fees prior to filing. The contract for 8/11/2017 stated that
   he was required to pay $1,500.00 in attorneys' fees prior to filing. With filing fees the total would have been $3,060.00. However, in both cases
   you filed an application to pay filing fees in installments and Mr. Davis paid those fees directly to the court clerk. So without filing fees the total
   you should have received directly from Mr. Davis is $2,450.00. The overpayment amount, and amount that Mr. Davis is entitled to be refunded is
   $1,865.00.

   I'm not sure of your exact relation with Credit by Grace, but the contracts with them required a fee of $750.00 to be paid. In total, Mr. Davis and
   his wife paid $9,187.00, with many of the receipts stating that they were mortgage trial payments, but those payments were never received by
   Ocwen as reflected in the proof of claim filed in this case. The total overpayment amount to Credit by Grace is $8,437.00.

   I would like to avoid future hearings in front of Judge Jones, so if you are willing to agree to refund the overpayments please let me know, or if
   you believe there is information that I don't have that I should know please provide it. Otherwise, my client and potentially the Judge as well will
   want me to get the Court involved on this.

   Kyle Payne
   Owner | Attorney

   PAYNE & ASSOCIATES, PLLC
   1225 North Loop West, Suite 550
   Houston, TX 77008
   Tel: (713) 228-0200
   Fax: (713) 588-8750
   Email: kyle@payne.associates
   Web: www.payne.associates


   We are a federally-designated Debt Relief Agency under the United States Bankruptcy Laws. We assist people with inding solutions to
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    3 attachments
         All payments I made to Grace for Refi.pdf
         796K
         BK Filing fees pd to Gwendolyn Wilds.pdf
         4200K
         Davis - Payment History to Wilds and Credit by Grace.xlsx
         11K


 Gwendolyn Wilds <gwildslaw@gmail.com>                                                                                                                              Tue, May 28, 2019 at 11:14 AM
 To: Kyle Payne <kyle@payne.associates>




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                                                                                    ROBERT DAVIS

   Thank you for the courtesy of addressing this issue to me. Mr. Davis abruptly terminated my representation without an explanation. I reached
   out to your client via email for an explanation but he never responded. I reached out to you as well when your associate raised the issue of
   filing fees in open court. I approached her in reference to same and she informed me that you were going to contact me but I did not hear
   from you either.

   After a cursory look at the receipts, it would appear that the filing fee for the second bankruptcy was collected at my office by someone other
   than me. I have no problem refunding the filing fee since it was evidently paid at my office (Receipt #660650). With respect to the second
   deposit of $1,000.00 (Receipt #660644), I am not opposed to a partial refund since some work was done. There is one receipt which I will need
   to research (Receipt 998665) since it specifically states for Grace. Once I have had an opportunity to completely review all of the
   documentation I will let you know how much of the deposit I am willing to refund.

   I will need to speak with Credit with Grace so that they can respond to you regarding the payments for the modification. It is my understanding
   that trial payments were made to the mortgage company on Mr. Davis’ behalf. Credit with Grace also reached out to Mr. Davis in reference to
   his modification, but he did not respond to her as well. I am certain that she will need to research the payments in order to provide a full
   accounting. It is my understanding that at some point, Ms. Davis attempted to reach out to him to complete his file after he terminated my
   services. This matter could have been resolved before now, had he communicated back to either of us.

   You can expect a response from me by the end of the week. Credit with Grace will need additional time since she will need to obtain bank
   records.




   Law Office of Gwendolyn R. Wilds
   3920 FM 1960, Suite 200
   Houston, TX 77068
   (T) (832) 272-4969
   (F) (866) 397-5561

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                                                                              - Robert Davis Page 3 of 4

                                                                                                                                          Kyle Payne <kyle@payne.associates>



 Robert Davis
 1 message

 Gwendolyn Wilds <gwildslaw@gmail.com>                                                                                                                  Mon, Jun 17, 2019 at 8:11 AM
 To: Kyle Payne <kyle@payne.associates>

   Good Morning:

   I had hoped to get this done last week. However, I am presently out of town taking care of medical issues. However, after reviewing the documentation on hand, I have done
   the accounting. As stated in my earlier email, I will refund the filing fee of $310 since it was apparently dropped off at the office while I was out of the office. In addition, $155.00
   was paid towards the first bankruptcy but the case was dismissed before the payment was made and the case confirmed. I also note that at the time the fee disclosure was
   filed, Mr. Davis only paid $950. The balance of the$1,500 was paid later pursuant to our agreement.

   After the first case was filed and prior to confirmation, Mr. Davis fell behind and was not able to catch up, therefore it was dismissed with the understanding that he would start
   over rather than to catch up. There is no dispute that he also paid a $1,500 deposit on that case. I began working on preparing the plan, schedules, collecting updated income
   and budget information. It was during this process that Hurricane Harvey struck and we communicated by email. At some point, it became apparent that he had been affected
   by the storm and he communicated the same to me via email. Unfortunately, I was also impacted by the storm and although I reached out to him via email, we were unable to
   meet immediately when he came into town. It was during that time, he abruptly terminated my services and did not respond to my phone calls. A day or so later, I received
   notice via ECF that he had retained counsel. and at that point, I stopped all attempts to communicate with him. Noone

   Sometime last year, your Associated stated in open court stated that Mr. Davis paid the filing fee to me. When I approached her she inquired whether you contacted me about
   this. I informed her that your office had not, and that I would appreciate and await a call or communication from you. In any event, after reviewing my emails from Mr. Davis
   and researching the matter I realized that he did, in fact, drop off the entire filing fee.

   I have attached an invoice for the second case outlining my fees and Mr. Davis' payments to the office. I note that Receipts 660642 and 998665 were for trial modification
   payments and not for attorney fees.




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   Houston, TX 77068
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